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                     Exhibit 9
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          Infringement Claim Chart for U.S. Pat. No. US7269253B1 v. Seek Thermal
                                       (“Defendant”)
   Claim 10                                              Evidence
10. A            The Seek Thermal Customer Service performs a method for communicating in a
communication    communication network.
s method
comprising:      For Example, Seek Thermal Customer Service performs a method of communicating by
                 establishing, over a communication network, a call between callers with a request to the
                 appropriate department for assistance.




                 Source: Support Hours – Seek Thermal Support
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   Source: Support Hours – Seek Thermal Support
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   Source: Online Support Form (netsuite.com)
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                  Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
                  Infrared Thermal Cameras
(a) receiving a   The Seek Thermal Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Seek Thermal Customer Service receives calls from multiple callers. For
associated        each call, a user provides information about the nature of the call by selecting the
classification    appropriate department from the given choices via keypad entry. The responses are
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information;      used to classify the call.




                  Source: Support Hours – Seek Thermal Support
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   Source: Support Hours – Seek Thermal Support
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   Source: Online Support Form (netsuite.com)
               Case 1:23-cv-00498-MN Document 8-9 Filed 07/06/23 Page 10 of 20 PageID #: 398




                    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
                    Infrared Thermal Cameras
(b) storing         The Seek Thermal Customer Service maintains information about potential targets that
information         includes support agents, departments, or specific resources capable of handling different
representing        types of inquiries.
characteristics
of at least three   For example, Seek Thermal Customer Service stores information about the skill set
potential           possessed by agents who are potential targets of the call. Seek Thermal employs
targets; and        numerous agents, at least three of which possess the skill set required by the call.
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    Source: Support Hours – Seek Thermal Support
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    Source: Support Hours – Seek Thermal Support




    Source: Online Support Form (netsuite.com)
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              Case 1:23-cv-00498-MN Document 8-9 Filed 07/06/23 Page 14 of 20 PageID #: 402




                   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
                   Infrared Thermal Cameras

(c) determining,   The Seek Thermal Customer Service determines an optimum target for each
in a               communication based on the communication classification and target characteristics
combinatorial      using a combinatorial optimization comparing at least three potential targets.
optimization, an
optimum target     For example, Seek Thermal Customer Service analyses the caller selection to determine
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for each           one or more skills that an agent who is selected to receive the call should have in order
communication      to provide the caller with the requested assistance. The system determines the potential
based on the       agent based on the communication classification and performs automated skill-based
communication      routing of calls using Zendesk Omnichannel support (i.e., a combinatorial optimization).
classification,
and target
characteristics.




                   Source: Support Hours – Seek Thermal Support
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    Source: Support Hours – Seek Thermal Support
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    Source: Online Support Form (netsuite.com)
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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras
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    Source: Seek Thermal selects Zendesk Service for Customer Support
    (appsruntheworld.com)




    Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
    India
